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                             Exhibit B
Case 5:24-cr-00097-TPB-PRL               Document 19-2          Filed 01/31/25   Page 2 of 2 PageID 94


Subject:
Subject: Re: January 20, 2025 Pardon Certiﬁcates
Date:
Date:    Thursday, January 30, 2025 at 3:17:17 PM Eastern Standard Time
From:
From:    Amy Collins
To:
To:         USPardon Attorney


Hi there,

I am writing to request these certiﬁcates be relayed to me ASAP, as these clients are still being held
in custody. Thank you in advance.

Best,
Amy

From:
From: Amy Collins <Amy@amyccollinslaw.com>
Date:
Date: Monday, January 27, 2025 at 4:00 PM
To:
To: USPardon Attorney <USPardon.Attorney@usdoj.gov>
Subject:
Subject: January 20, 2025 Pardon Certiﬁcates

Good afternoon,

I am writing to request pardon certiﬁcates for the following clients in the following cases:



        Daniel Charles Ball
              US v. Ball, 1:23-cr-00160-RC-1 (D.D.C.)
              US v. Ball, 5:24-cr-00097-TPB-PRL-1 (M.D. Florida)

Best,

Amy
Amy C.C. Collins
         Collins
Kalbian Hagerty LLP / The Law Odice of Amy C. Collins
888 17th Street, N.W., Suite 1200
Washington, D.C. 20006
(228) 424-0609
acollins@kalbianhagerty.com
amy@amyccollinslaw.com
